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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="d3225661cf"&gt;&lt;span data-sentence-id="4c3901aa99" quote="false" data-paragraph-id="d3225661cf"&gt; Lacie Lovato, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="8e54ca7cd0" quote="false" data-paragraph-id="d3225661cf"&gt; &lt;br /&gt; Renaissance Acquisition Partners, LP., Respondent: &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6dde68644d"&gt;No. 21SC812&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1d582eef7d"&gt;July 25, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="b310695899"&gt;&lt;span data-sentence-id="55310f459b" quote="false" data-paragraph-id="b310695899"&gt; District Court, Adams County, Case No. 21CV56 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="3d5900be94"&gt;&lt;span data-sentence-id="29eadad344" quote="false" data-paragraph-id="3d5900be94"&gt; JUSTICE HOOD would grant as to the following issue: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="a14534428c"&gt;&lt;span data-sentence-id="a4e905c71c" quote="false" data-paragraph-id="a14534428c"&gt; Whether the district court erred in affirming the county court's entry of possession judgment where plaintiff failed to serve petitioner with a 30-day notice which is a condition precedent to filing this action.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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